          Case 2:21-cv-00571-JCC Document 16 Filed 08/17/21 Page 1 of 11



 1                                                           HONORABLE JOHN C. COUGHENOUR
                                                                  HON. J. RICHARD CREATURA
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 6                               IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
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     DONNITTA SINCLAIR, Mother of Deceased              Case No. 2:21-cv-00571-JCC-JRC
 9   HORACE LORENZO ANDERSON, JR.,
     individually,                                      THE NATIONAL POLICE
10                                                      ASSOCIATION’S NOTICE OF MOTION
                            Plaintiff,                  AND MOTION FOR LEAVE TO
11                                                      PARTICIPATE AS AMICUS CURIAE
                            v.
12                                                      NOTE ON MOTION CALENDAR:
     CITY OF SEATTLE, a municipality,                   September 10, 20211
13
                            Defendant.
14

15

16                                                  Motion

17            The National Police Association (“NPA”), a nonprofit entity formed to support law

18   enforcement, moves for leave to participate in this case as amicus curiae. A supporting

19   Declaration of Ed Hutchison is filed herewith. NPA’s proposed memorandum amicus curiae in

20   response to the City of Seattle’s motion to dismiss this action is attached hereto as Exhibit 1.

21                                              Memorandum

22            District courts have "broad discretion" to appoint amicus curiae. Hoptowit v. Ray, 682 F.2d

23   1237, 1260 (9th Cir.1982), abrogated on other grounds by Sandin v. Conner, 515 U.S. 472, 115 S.

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25     NPA is aware that the City’s motion to which its proposed filing relates is set for August 20,
     2021, but sets the hearing date for this motion pursuant to the local rules on the theory that the
26   question of City liability will not have been resolved by September 10th, and the Court may find
     the NPA’s briefing helpful at that juncture or at such earlier time as the Court may wish to
27   consider it.
                                                       1
28       THE NATIONAL POLICE ASSOCIATION’S NOTICE OF MOTION AND                James L. Buchal, WASB No. 31369
                                                                                    Murphy & Buchal LLP
         MOTION FOR LEAVE TO PARTICIPATE AS AMICUS CURIAE                               P.O. Box 86620
         Case No. 2:21-cv-00571-JCC-JRC                                               Portland, OR 97286
                                                                                      Tel: 503-227-1011
                                                                                      Fax: 503-573-1939
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 1   Ct. 2293, 132 L.Ed.2d 418 (1995). This Court has declared that it may consider amicus briefs

 2   from non-parties "concerning legal issues that have potential ramifications beyond the parties

 3   directly involved or if the amicus has unique information or perspective that can help the court

 4   beyond the help that the lawyers for the parties are able to provide." Skokomish Indian Tribe v.

 5   Goldmark, No. C13-5071JLR, 2013 U.S. Dist. LEXIS 151310, 2013 WL 5720053, at *1 (W.D.

 6   Wash. Oct. 21, 2013) (internal quotations omitted) (quoting NGV Gaming, Ltd. v. Upstream Point

 7   Molate, LLC, 355 F. Supp. 2d 1061, 1067 (N.D. Cal. 2005)).

 8           The Federal Rules of Civil Procedure do not address amicus appearances before the

 9   District Court. NPA proceeds by analogy to the Federal Rules of Appellate Procedure to seek this

10   Court’s permission to appear, and provides the following information, consistent with Rule 29 of

11   the Federal Rules of Civil Procedure.

12           NPA is not seeking to present any private interest of its own, but to present its position as

13   to the correct rules of law to be applied in cases involving police response to public protests and

14   demonstrations. NPA is not aligned with any party in these cases but expects to present positions

15   in support of plaintiff.

16           This case is at an early stage. Although the Complaint was filed on April 29, 2021, and

17   amended on July 12, 2021, it is currently subject to a motion to dismiss.

18           No prejudice to the parties will arise from allowing amicus participation. NPA will not

19   participate in discovery; its participation will be limited to filing one or more legal memoranda.

20   NPA anticipates that, assuming the pending motion to dismiss is denied, a further motion for
21   summary judgment will be filed, and NPA proposes, consistent with FRAP 29(a)(6), to file any

22   further amicus briefs within seven days after plaintiff’s filings.

23           That is precisely the procedure this Court has previously adopted:

24                   "In the absence of local rules governing the role of amicus curiae, the court will
             adhere to the applicable rules found in the Federal Rules of Appellate Procedure.
25           Accordingly, the Proposed Intervenors must file any memorandum commenting on a
             party's memorandum no later than seven days after the party's principal brief is field.
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 1   Ctr. for Biological Diversity v. United States EPA, No. C13-1866JLR, 2014 U.S. Dist. LEXIS

 2   20623, at *30 (W.D. Wash. Feb. 18, 2014).

 3          This Court has frequently granted amicus status to associations akin to NPA. See, e.g., id.

 4   (granting amicus status to Western States Petroleum Association and the American Petroleum

 5   Institute). Amicus status is particularly appropriate where "the Court will consider issues of

 6   particular public interest". Jewish Family Serv. of Seattle v. Trump, No. 2:17-CV-01707-JLR,

 7   2017 U.S. Dist. LEXIS 199900, at *3-4 (W.D. Wash. Dec. 5, 2017) (granting amicus status to

 8   Muslim Advocates and the McArthur Justice Center).

 9          NPA believes that its briefing will benefit the Court by providing a broader perspective

10   concerning the critical issues relating to a municipality's supplying, or declining to supply, police

11   protection service. In particular, NPA takes the position that the proliferation of "stand down"

12   orders across the United States in the face of riots and other civil disturbances, where violence

13   against persons and property is all but certain to occur, but is accepted on account of the political

14   agendas of the rioters, infringe on the fundamental civil rights of Americans to live under ordered

15   liberty granted by the U.S. Constitution.

16                                                Conclusion

17          For the foregoing reasons, NPA’s motion for leave to participate amicus curiae should be

18   granted, allowing it to file the attached memorandum.

19          Dated this August 17, 2021.

20                                                         By: s/ James L. Buchal
21
                                                           James L. Buchal, WSBA No. 31369
22                                                         MURPHY & BUCHAL LLP
                                                           P.O. Box 86620
23                                                         Portland, OR 97286
                                                           Tel: 503-227-1011
24
                                                           E-mail: jbuchal@mbllp.com
25                                                         Attorney for National Police Association

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10   HORACE LORENZO ANDERSON, JR.,
     individually,
11
                            Plaintiff,                    MEMORANDUM AMICUS CURIAE IN
12                                                        OPPOSITION TO DEFENDANT CITY OF
                            v.                            SEATTLE’S MOTION TO DISMISS
13
     CITY OF SEATTLE, a municipality
14
                            Defendant.
15

16

17                                         Preliminary Statement

18          The National Police Association (“NPA”) a nonprofit entity formed to support law

19   enforcement, is interested in this case because police officers across the country watched with

20   horror as the City abandoned an entire precinct and actively supported the creation of a lawless

21   “CHOP” zone (1st Am. Cmplt. ¶ 2-4, 16-20), and a decision holding the City accountable for this

22   extraordinary decision—and thereby discouraging such decisions in the future—promotes the

23   interests of police, law enforcement generally, and the public interest.

24          NPA has obtained leave to file this memorandum through this Court’s Order of

25   ___________, 2021. The NPA certifies that no party to this case contributed any funds to prepare

26   or submit this memorandum.

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      MEMORANDUM AMICUS CURIAE IN OPPOSITION TO DEFENDANT                       James L. Buchal, WASB No. 31369
28                                                                                   Murphy & Buchal LLP
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 1                                           Summary of Argument

 2            Civil unrest may sometimes reach levels that requires law enforcement to retreat and

 3   abandon a precinct, but this case is about a deliberate decision to foster, contrary to the most

 4   fundamental Constitutional guarantees of ordered liberty, a zone of anarchy within the City of

 5   Seattle. The City’s abandonment of its most basic obligations under its own Charter, Washington

 6   state law, and the U.S. Constitution created extraordinary and foreseeable danger, and the false

 7   statements of City leaders concerning these dangers easily establish deliberate indifference to that

 8   danger for purposes of a Rule 12(b)(6) motion. Plaintiff has stated a claim under the well-

 9   established “state-created danger” exception to the general rule that government will not be liable

10   for the criminal acts of private parties. Only a decision denying the motion to dismiss, and further

11   proceedings leading to substantial liability for the wrongful death of Horace Anderson will ensure

12   that local public officials never engage in conduct so destructive of the rule of law and law

13   enforcement.

14                                                  Argument

15   I.       THE CITY’S MOTION TO DISMISS SHOULD BE DENIED.

16            A.     The Facts Pleaded, and Inferences to be Made.

17            For purposes of reviewing a motion to dismiss under Federal Rule of Civil Procedure

18   12(b)(6), this Court is to accept plaintiff's allegations as true "and construe them in the light most

19   favorable" to the plaintiff, Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 989 (9th Cir.

20   2009), dismissing the complaint only if it fails "to 'state a claim to relief that is plausible on its

21   face.'" Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d

22   929 (2007)). This involves “assuming all facts and inferences in favor of the nonmoving party”

23   and dismissal is appropriate only “it appears beyond doubt that [plaintiff] can prove no set of facts

24   to support [her] claims.'" Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006) (quoting Libas Ltd.

25   v. Carillo, 329 F.3d 1128, 1130 (9th Cir. 2003)).

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 1          The City’s summary of the factual allegations might reasonably be seen as an attempt to

 2   draw inferences in favor of the moving party—itself. For purposes of this motion, the most

 3   important allegation is that the “City enabled CHOP by providing portable toilets, lighting and

 4   other support, including modifying protocols of SPD and SFD”. (1st Am. Cmplt. ¶ 21.) This

 5   factual allegation, coupled with the allegation that the Mayor and a City Council member falsely

 6   asserted that what was going on in CHOP constituted a “summer of love,” a “block party,” or a

 7   “peaceful” occupation (id. ¶¶ 27-28), permit the inference that the creation of a very large

 8   dangerous and lawless zone was a deliberate and affirmative policy decision of the City. Indeed,

 9   this is the only reasonable inference.

10          Other allegations of extraordinary conduct on the part of City officials permit additional

11   relevant inferences. The Police Chief and the Mayor now both deny giving the order to desert the

12   East Precinct in the first place, yet as plaintiffs allege, “someone in City leadership gave the order

13   and numerous City officials allowed, enabled, ratified and even encouraged CHOP to continue

14   despite the foreseeable danger and resulting violence”. (Id. ¶ 46.) The City has apparently

15   destroyed all records that would review the actual decisionmaking (id. ¶¶ 49-50), permitting the

16   important interference that such records would be supportive of liability for the City and those

17   involved.

18          All this conduct takes place against a background in which the relevant officials were

19   under legal duties to do precisely the opposite of what they did. It has long been the law in

20   Washington that “[a] police officer not only has the specific duty to enforce the law, but is also

21   charged with the general duty and power to maintain the peace and quiet of the city.” Mike v.

22   Tharp, 21 Wash. App. 1, 5, 583 P.2d 654, 656 (1978). More specifically, the Seattle City Charter,

23   like similar provisions across the country, requires the Chief of Police to “maintain the peace and

24   quiet of the City”. (Charter, Art. VI, § 5.)

25          Seattle emphasizes that the primary purpose of the Due Process Clause invoked by plaintiff

26   was “to protect the people from the State, not to ensure that the State protected them from each
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 1   other”. Deshaney v. Winnebago Cty. Dep't of Soc. Servs., 489 U.S. 189, 196, 109 S. Ct. 998, 1003

 2   (1989). The natural inference from plaintiff’s complaint, however, is that the City was abusing

 3   State power to advance the bizarre and illegal preferences of its leadership for anarchism, willfully

 4   indifferent to serious and inherent dangers of anarchy.

 5           The City’s conduct should shock the conscience of this Court, sworn to uphold the rule of

 6   law against anarchy, as it interferes with rights implicit in the fundamental Constitutional

 7   guarantees of ordered liberty—the right to live in under constitutional government at least

 8   attempting to preserve public order. Accordingly, plaintiffs’ effort to seek redress in the

 9   substantive context of the Due Process Clause is well within longstanding Constitutional

10   precedent. Rochin v. California, 342 U.S. 165, 172, 72 S. Ct. 205, 96 L. Ed. 183 (1952)

11   ("Substantive Due Process" prevents the government from engaging in conduct that "shocks the

12   conscience"); Palko v. Connecticut, 302 U.S. 319, 325-26, 58 S. Ct. 149, 82 L. Ed. 288 (1937)

13   (substantive due process violation occurs where state interferes with rights "implicit in the concept

14   of ordered liberty").

15           B.       The “State-Created Danger” Doctrine Bars Dismissal.

16           Notwithstanding the general rule articulated in DeShaney, the City does not dispute that

17   under the “state-created danger” exception, a three-part test applies to establish if plaintiff can

18   state a claim. Plaintiff must allege (and later prove) that: (1) the City’s conduct exposed

19   plaintiff’s son to “danger he would not have otherwise faced”; (2) the resulting harm was

20   foreseeable; and (3) the City acted with “deliberate indifference” to “the known or obvious

21   danger”. (City Motion at 8.) At this juncture, the City challenges the sufficiency of the

22   allegations of the First Amended Complaint with respect to the first and third elements only. (See

23   id. at 8 n.1.)

24           This Court has already held that allegations indistinguishable from those presented by

25   plaintiff state a claim for damages arising out of the City’s decision to allow, and thereafter

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 1   support, the CHOP: Hunters Capital LLC v. City of Seattle, 499 F. Supp. 3d 888, 898 (W.D.

 2   Wash. 2020).

 3                  1.      The City acted with deliberate indifference to the danger.

 4          It was obvious that allowing a hostile, lawless crowd attacking the East Precinct to take

 5   control of sixteen blocks of Seattle would create lawlessness and resulting crime. Plaintiff alleges

 6   that “crimes predictably proliferated in CHOP” (1st Am. Cmplt. ¶ 22), and as early as June 11th,

 7   only three days after the abandonment, the Police Chief expressed concern about crime and

 8   response times (id. ¶ 26). By the time of the visit plaintiff’s son, on June 20th, the dangers posed

 9   by CHOP were no longer a predication—they were an established fact.

10          The City argues that plaintiff has not alleged a “concrete, immediate danger”. (City

11   Motion at 10.) That the City does not see the allegation of allowing a lawless and violent mob to

12   seize territory within the City as showing a concrete, immediate danger” only proves that the City

13   has learned nothing, and judgment in this case and others is required to educate the City as to its

14   fundamental obligations under federal constitutional law.

15          The City cites Hernandez v. City of San Jose, 897 F.3d 1125, 1133 (9th Cir. 2018), which

16   involved circumstances of more immediate state-created danger within the context of a single

17   demonstration on a single day, but the opinion focuses upon the conduct of particular group of

18   police officers. Here, a high-level municipal policy decision to abdicate its own territory to

19   criminals obviously threatens a concrete and immediate danger to all those in the vicinity of the

20   territory. Hernandez explains that the “critical distinction” for finding liability is not “between

21   danger creation and enhancement, but . . . between state action and inaction in placing an

22   individual at risk”. Id. at 1135. Plaintiff does not merely allege inaction, but the affirmative

23   support of the CHOP zone and affirmative adoption of policies to foster lawlessness.

24          The City also argues that plaintiff has not alleged “that the City acted with indifference

25   regarding the dangers and risks that it did know about”. (City Motion at 10.) That is simply not

26   true; “deliberate indifference” is specifically and repeatedly alleged. (1st Am. Cmplt. ¶¶ 58, 64.)
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 1   The factual allegations of extraordinary indifference to anarchy, and abandoning the most

 2   fundamental functions of civilized government, easily support an inference of deliberate

 3   indifference. Deliberate indifference may also be inferred from the fact that the wrongful death of

 4   plaintiff’s son on June 21st did not result in any change in City policy. A second death had to

 5   occur on June 29th (id. ¶ 43) before the City finally reversed its policy and began to close down

 6   CHOP on July 1st (id. ¶ 48).

 7                  2.     The City exposed plaintiff’s son to a danger he would otherwise not
                           have faced.
 8

 9          This Court in Hunters Capital reviewed allegations concerning the City’s fostering of

10   CHOP and easily concluded that “the City's actions—encouraging CHOP participants to wall off

11   the area and agreeing to a ‘no response’ zone within and near CHOP's borders—foreseeably

12   placed Plaintiffs in a worse position than they would have been in absent any City intervention

13   whatsoever.” Hunters Capital, 499 F. Supp.3d at 902. It is certainly true that Lorenzo Anderson

14   might have encountered Marcel Long whether or not the City had created CHOP—though he may

15   well have been attracted to it by the City’s promotion of a “summer of love” at the site. But the

16   City’s decision to create “no cop” zone increased crime generally; encouraged Long to carry a

17   handgun without consequence (see 1st Am. Cmplt. ¶¶ 24, 30); and its nonintervention policies

18   killed Anderson by letting him bleed out rather than disturb the sanctity of CHOP (id. ¶¶ 33-38).

19          The City’s attempt to complain distinguish Hunters Capital on the basis that it was only a

20   “miscommunication” here that killed plaintiff’s son is ignores the very specific allegation of

21   increased response time (id. ¶ 26) this Court cited in Hunters Capital (cf. City Motion at 18). The

22   question is not whether the son “would have been better off without City intervention (id. at 17);

23   the question is whether plaintiff has alleged that the City created a danger that injured her son—

24   and she has.

25          The City argues that the danger must be “particularized,” but an increased risk of violent

26   crime is sufficiently particular for purposes of the “state-created danger” doctrine. Cf. Wood v.
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 1   Ostrander, 879 F.2d 583 (9th Cir. 1989) (general risk of stranding a woman in high crime area

 2   sufficed).

 3          There is no support for the City’s position that the doctrine applies only where the state

 4   creates a danger unique to the injured party. That most state-created danger cases involve conduct

 5   by single police officer or other state actor creating risk for an individual does not mean that the

 6   doctrine is limited to such circumstances. Hunters Capital, Hernandez and other cases all involve

 7   dangers to multiple victims. It is bizarre to suggest that the broader and more serious the danger

 8   created by the City, the less remedy may be available for it.

 9          The City goes so far as to suggest that Hunters Capital should be distinguished on the

10   basis that plaintiff’s son—whose special needs may vitiate a presumption of ordinary voluntary

11   conduct—chose to go to CHOP. No “state-created danger” case has made such a distinction, and

12   it is inconsistent with the holdings in such cases. Under the City’s view, for example, Wood was

13   wrongly decided: the poor woman raped after being stranded when her male driver was arrested

14   for driving while intoxicated (and the car seized) “volunteered” to go driving with him.

15          Finally, the City elevates protection of property rights over human life in an astounding

16   fashion by suggesting that Hunters Capital should be distinguished, in substance, on the basis that

17   the plaintiffs there were complaining about non-enforcement of laws resulting in harm to their

18   property. Whether the City as a matter of policy refused to enforce laws protecting property, or

19   refused as a matter of policy to enforce laws protecting life (other than intervening after the fact in

20   “life-threatening” circumstances) is a distinction without a difference. The shocking conduct to

21   create either danger is sufficient to create a Substantive Due Process Claim.

22          C.      Allowing the Claim to Proceed will not Erase Any Important Limit on
                    Governmental Liability.
23

24          The City ultimately retreats to the complaint that creating liability in this sui generis case

25   “would erase the limits on government liability established by the Supreme Court in DeShaney.

26   Those limits were created for governments that do not abdicate their most fundamental duties to
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 1   preserve ordered liberty, and operate in a fashion that does not shock the conscience. The City’s

 2   extraordinary and offensive policy choices challenged here are policies that the federal judiciary

 3   should not only feel no need to protect, but has an affirmative duty to eradicate.

 4                                               Conclusion

 5          For the foregoing reasons, the City of Seattle’s Motion to Dismiss should be denied.

 6          Dated this ______________________, 2021.

 7                                                         By: s/ James L. Buchal
 8
                                                           James L. Buchal, WSBA No. 31369
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                                                           E-mail: jbuchal@mbllp.com
12                                                         Attorney for National Police Association

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